17-08329-rdd        Doc 6      Filed 03/06/18       Entered 03/06/18 15:13:57               Main Document
                                                    Pg 1 of 3




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                                   Chapter 11
THE GREAT ATLANTIC & PACIFIC TEA
COMPANY, INC., et al.,1                                            Case No. 15-23007 (RDD)

                                   Debtors.                        (Jointly Administered)

THE OFFICIAL COMMITTEE OF UNSECURED
CREDITORS on behalf of the bankruptcy estate of                    Adv. Proc. No. 17-08329 (RDD)
THE GREAT ATLANTIC & PACIFIC TEA
COMPANY, INC., et al.

                                   Plaintiff,

         v.

DR. PEPPER SNAPPLE GROUP, INC.,

                                   Defendant.



                              SCHEDULING AND PRE-TRIAL ORDER

       The parties cannot amend this order by stipulation or otherwise, and the Court will
not amend it unless presented with (i) proof of cause beyond the control of the party
seeking amendment and (ii) timely application as soon as possible after the party seeking
amendment learns of the cause. FAILURE TO COMPLY WITH THIS ORDER MAY
RESULT IN DISMISSAL OR OTHER SANCTION. If delay or other act or omission of
your adversary may result in a sanction against you, it is incumbent on you to promptly
bring this matter to the Court for relief.


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: 2008 Broadway, Inc. (0986); The Great Atlantic & Pacific Tea Company, Inc. (0974); A&P
Live Better, LLC (0799); A&P Real Property, LLC (0973); APW Supermarket Corporation (7132); APW
Supermarkets, Inc. (9509); Borman’s, Inc. (9761); Delaware County Dairies, Inc. (7090); Food Basics, Inc. (1210);
Kwik Save Inc. (8636); McLean Avenue Plaza Corp. (5227); Montvale Holdings, Inc. (6664); Montvale-Para
Holdings, Inc. (2947); Onpoint, Inc. (6589); Pathmark Stores, Inc. (9612); Plainbridge LLC (5965); Shopwell,
Inc.(3304); Super Fresh Food Markets, Inc. (2491); The Old Wine Emporium of Westport, Inc. (0724); Tradewell
Foods of Conn., Inc. (5748); and Waldbaum, Inc. (8599).


DOCS_LA:312170.2 00263/003
17-08329-rdd        Doc 6    Filed 03/06/18   Entered 03/06/18 15:13:57         Main Document
                                              Pg 2 of 3




It is hereby ORDERED as follows:


    1. The initial disclosures required under Federal Rules of Civil Procedure 26 and Federal
       Rules of Bankruptcy Procedure 7026 shall be exchanged no later than 14 days from entry
       of this Order.

    2. All fact discovery shall be completed by June 15, 2018. In the event of a dispute over
       discovery, the parties’ counsel shall promptly confer to attempt in good faith to resolve
       the dispute. If, notwithstanding their good faith efforts to do so, they are unable to resolve
       a discovery issue, they shall promptly inform the Court by letter of the nature of the
       dispute and request a telephonic discovery conference. At the conference, the Court will
       ask the parties about their prior efforts to resolve the dispute.

    3. The parties shall identify expert witnesses and serve the written reports or disclosures
       required by Federal Rule 26(a)(2)(B)-(C), as made applicable by Bankruptcy Rule 7026,
       by July 16, 2018. Expert depositions shall be completed by August 31, 2018.

    4. The parties shall identify any rebuttal expert witness who will testify solely in opposition
       to the experts and opinions disclosed pursuant to paragraph (3) above, and serve the
       related written reports or disclosures required by Federal Rule 26(a)(2)(B)-(C), as made
       applicable by Bankruptcy Rule 7026 by August 1, 2018.

    5. Either or both parties may seek leave under the Local Bankruptcy Rules to move for
       summary judgment under Fed. R. Bankr. P. 7056 after completion of discovery and
       before taking the steps set forth in paragraphs 6-9 below. If such request is granted, the
       parties shall schedule the adjourned pre-trial conference to take place approximately one
       month after the scheduled hearing on summary judgment.

    6. The Court will hold a final pretrial conference on October 11, 2018 at 10:00 A.M. (unless
       a party has previously obtained permission under the Local Bankruptcy Rules to move
       for summary judgment, which motion shall be heard at that date and time), at which time
       the parties must be prepared to proceed to trial within two weeks.

    7. In advance of the final pretrial conference, the parties shall have conferred and used their
       best efforts to agree on a joint exhibit book and shall have identified any exhibits whose
       admissibility is not agreed.

    8. In addition, on or before two weeks before the final pretrial conference, the parties shall
       have exchanged proposed witness lists.



DOCS_LA:312170.2 00263/003                       2
17-08329-rdd        Doc 6    Filed 03/06/18   Entered 03/06/18 15:13:57       Main Document
                                              Pg 3 of 3




    9. On or before one week before the scheduled trial date, the parties shall (a) submit to
       chambers declarations under penalty of perjury or affidavits of their direct witnesses, who
       shall be present at trial for cross-examination and redirect, or have sought the Court’s
       permission to examine direct witnesses at trial and (b) submit to chambers the joint
       exhibit book referred to in paragraph 7 hereof.

Dated: White Plains, New York
       March 6, 2018



                                                            /s/Robert D. Drain
                                                            Hon. Robert D. Drain
                                                            United States Bankruptcy Judge




DOCS_LA:312170.2 00263/003                       3
